Case 6:22-cv-01120-ADA Document 1-4 Filed 10/26/22 Page 1 of 6




              Exhibit 4
    Case 6:22-cv-01120-ADA Document 1-4 Filed 10/26/22 Page 2 of 6




STMIcroelectronics – Microprocessor Unit (MPU) Device
(see Product List at end for models)

Infringement of the ‘242 patent
Claim 1           Evidence
1. A method of    The STMIcroelectronics MPU device performs a
processing        method of processing imaging signals.
imaging signals,
the method        For example, the STMIcroelectronics MPU device
comprising:       has a camera interface (e.g. that supports 8-bit to
                  14-bit input signals) which enables an image
                  sensor to be coupled to the MPU device. The
                  image sensor includes an imaging array and a
                  clock generator. The STMIcroelectronics MPU
                  device includes an image processor. The image
                  processor processes imaging signals that are
                  received from the image sensor via the camera
                  interface.
receiving image   The STMIcroelectronics MPU device receives
data from an      image data from an imaging array.
imaging array;
                  For example, the image sensor includes an
                  imaging array. The imaging array produces image
                  data when exposed to an image. The camera
                  interface of the STMIcroelectronics MPU device
                  receives the image data from the imaging array.
storing the image The STMIcroelectronics MPU device stores the
data in a FIFO    image data in a FIFO memory.
memory;
                  For example, the camera interface includes a FIFO
                  memory for storing image data. The image data
                  received from the imaging array is stored in the
                  FIFO memory by the camera interface.
updating a FIFO   The STMIcroelectronics MPU device updates a
counter to        FIFO counter to maintain a count of the image
maintain a count  data in the FIFO memory in response to memory
of the image data reads and writes;
in the FIFO
memory in         For example, the camera interface includes a FIFO
response to       counter to maintain a count of the image data, or
memory reads and “fill level”, that is stored in the FIFO memory.
writes;           When a unit of image data is written to the FIFO
                  memory, the count of the FIFO counter is
                  incremented. When a unit of image data is read
                  from the FIFO memory, the count of the FIFO


                                                                     1
    Case 6:22-cv-01120-ADA Document 1-4 Filed 10/26/22 Page 3 of 6




                      counter is decremented.
comparing the         The STMIcroelectronics MPU device compares the
count of the FIFO     count of the FIFO counter with a FIFO limit.
counter with a
FIFO limit;           For example, the camera interface includes a FIFO
                      limit which it compares to the FIFO count to
                      determine if the amount of image data in the FIFO
                      memory is at a “fill level” that will require the
                      camera interface to take an action.
generating an         The STMIcroelectronics MPU device generates an
interrupt signal to   interrupt signal to request a processor to transfer
request a             image data from the FIFO memory in response to
processor to          an interrupt enable signal being valid and the
transfer image        count of the FIFO counter having a predetermined
data from the FIFO    relationship to the FIFO limit.
memory in
response to an        For example, the camera interface includes
interrupt enable      circuitry for performing operations to transmit
signal being valid    image data to the image processor. The servicing
and the count of      of interrupts by the image processor can be
the FIFO counter      enabled or disabled. When the servicing of
having a              interrupts from the camera interface is enabled
predetermined         and the count of the FIFO counter has a
relationship to the   predetermined relationship to the FIFO limit, the
FIFO limit; and       camera interface generates an interrupt signal.
                      The interrupt signal represents a request for the
                      image processor to transfer image data from the
                      FIFO memory.
transferring image    The STMIcroelectronics MPU device transfers
data from the FIFO    image data from the FIFO memory to the
memory to the         processor in response to the interrupt signal.
processor in
response to the       For example, when the image processor receives
interrupt signal.     the interrupt signal, the image processor transfers
                      the image data from the FIFO memory to the
                      image processor for processing.



STMIcroelectronics – Microprocessor Unit (MPU) Device
(see Product List at end for models)

Infringement of the ‘242 patent
Claim 8           Evidence
8. A method of    The STMIcroelectronics MPU device performs a



                                                                        2
    Case 6:22-cv-01120-ADA Document 1-4 Filed 10/26/22 Page 4 of 6




processing          method of processing imaging signals.
imaging signals,
the method          For example, the STMIcroelectronics MPU device
comprising:         has a camera interface (e.g. that supports 8-bit to
                    14-bit input signals) which enables an image
                    sensor to be coupled to the MPU device. The
                    image sensor includes an imaging array and a
                    clock generator. The STMIcroelectronics MPU
                    device includes an image processor. The image
                    processor processes imaging signals that are
                    received from the image sensor via the camera
                    interface.
receiving image     The STMIcroelectronics MPU device receives
data from an        image data from an imaging array.
imaging array;
                    For example, the image sensor includes an
                    imaging array. The imaging array produces image
                    data when exposed to an image. The camera
                    interface of the STMIcroelectronics MPU device
                    receives the image data from the imaging array.
storing the image   The STMIcroelectronics MPU device stores the
data in a FIFO      image data in a FIFO memory.
memory;
                    For example, the camera interface includes a FIFO
                    memory for storing image data. The image data
                    received from the imaging array is stored in the
                    FIFO memory by the camera interface.
updating a FIFO     The STMIcroelectronics MPU device updates a
counter to          FIFO counter to maintain a count of the image
maintain a count    data in the FIFO memory in response to memory
of the image data   reads and writes;
in the FIFO
memory in           For example, the camera interface includes a FIFO
response to         counter to maintain a count of the image data, or
memory reads and    “fill level”, that is stored in the FIFO memory.
writes;             When a unit of image data is written to the FIFO
                    memory, the count of the FIFO counter is
                    incremented. When a unit of image data is read
                    from the FIFO memory, the count of the FIFO
                    counter is decremented.
comparing the       The STMIcroelectronics MPU device compares the
count of the FIFO   count of the FIFO counter with a FIFO limit.
counter with a
FIFO limit;         For example, the camera interface includes a FIFO
                    limit which it compares to the FIFO count to
                    determine if the amount of image data in the FIFO


                                                                      3
    Case 6:22-cv-01120-ADA Document 1-4 Filed 10/26/22 Page 5 of 6




                      memory is at a “fill level” that will require the
                      camera interface to take an action.
generating, in        The STMIcroelectronics MPU device generates, in
response to the       response to the count of the FIFO counter having
count of the FIFO     a predetermined relationship to the FIFO limit, a
counter having a      bus request signal to request a bus arbitration
predetermined         unit to grant access to an output bus.
relationship to the
FIFO limit, a bus     For example, the camera interface includes a bus
request signal to     arbitration unit and an output bus to which the
request a bus         image processor is connected. When the count of
arbitration unit to   the FIFO counter has a predetermined relationship
grant access to an    to the FIFO limit, the camera interface generates a
output bus; and       bus request signal. The bus request signal
                      represents a request for the bus arbitration unit to
                      grant the camera interface access to the output
                      bus.
transferring image    The STMIcroelectronics MPU device transfers
data from the FIFO    image data from the FIFO memory to the output
memory to the         bus in response to receiving a grant signal from
output bus in         the bus arbitration unit.
response to
receiving a grant     For example, after the bus arbitration unit
signal from the       receives the bus request signal it generates a
bus arbitration       grant signal that gives the camera interface
unit.                 access to the output bus. Upon receiving the grant
                      signal, the image data is transferred from the FIFO
                      memory to the output bus for processing by the
                      image processor.

Product List

STM32MP1 Series MPUs:
STM32MP151A, STM32MP151C, STM32MP151D, STM32MP151F
STM32MP153A, STM32MP153C, STM32MP153D, STM32MP153F
STM32MP157A, STM32MP157C, STM32MP157D, STM32MP157F

References

[1] STM32MP151A
https://www.st.com/resource/en/datasheet/stm32mp151a.pdf

[2] STM32MP151C
https://www.st.com/resource/en/datasheet/stm32mp151c.pdf

[3] STM32MP151D


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    Case 6:22-cv-01120-ADA Document 1-4 Filed 10/26/22 Page 6 of 6




https://www.st.com/resource/en/datasheet/stm32mp151d.pdf

[4] STM32MP151F
https://www.st.com/resource/en/datasheet/stm32mp151f.pdf

[5] STM32MP153A
https://www.st.com/resource/en/datasheet/stm32mp153a.pdf

[6] STM32MP153C
https://www.st.com/resource/en/datasheet/stm32mp153c.pdf

[7] STM32MP153D
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[8] STM32MP153F
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[11] STM32MP157D
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[12] STM32MP157F
https://www.st.com/resource/en/datasheet/stm32mp157f.pdf




                                                                     5
